           Case 1:21-cr-00202-GHW Document 66 Filed 11/01/21 Page 1 of 2
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UNITED STATES DISTRICT COURT                                       DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: 10/29/2021
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 UNITED STATES OF AMERICA                                      :
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                              -v-                              :      1:21-cr-202-GHW
                                                               :
 SEPEHR SARSHAR,                                               :           ORDER
                                                               :
                                            Defendant. :
                                                               :
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GREGORY H. WOODS, United States District Judge:

         As stated on the record during the conference held on October 29, 2021, Defendant’s

motion to exclude evidence, Dkt. No. 37, is denied. Defendant’s motion to suppress evidence, Dkt.

No. 43, is granted in part and denied in part. The Court grants Defendant’s request for a Franks

hearing in relation to the Email Warrant. The parties are directed to confer and to submit a joint

letter proposing dates for that hearing. The Court reserves judgment on Defendant’s argument that

evidence from his email accounts should be suppressed because the Government failed to conduct a

privilege review. At this time, the Government has not offered any evidence supporting its

description of how it handled potentially privileged information. The Government is directed to

supply the Court with an affidavit regarding the nature of the process used by the Government to

protect Defendant’s privileged material. The parties are directed to confer regarding that issue and

inform the Court whether the parties believe supplemental briefing is necessary.

         Defendant’s motion to dismiss the indictment, Dkt. No. 40, is granted in part and denied in

part. The parties are directed to submit a joint letter via ECF regarding the parties’ proposed

approach to remedy the threat of impermissible duplicity in the indictment no later than November

5, 2021. Defendant’s motion for a bill of particulars, Dkt. No. 40, is granted in part and denied in
         Case 1:21-cr-00202-GHW Document 66 Filed 11/01/21 Page 2 of 2



part. The Government is directed to provide a bill of particulars detailing the trades with which the

Government intends to seek to hold Defendant liable no later than November 29, 2021. Finally,

Defendant’s motion to strike surplusage, Dkt. No. 40, is denied without prejudice to renewal after

the Government’s presentation of evidence at trial.

       The Clerk of Court is directed to terminate the motions pending at Dkt Nos. 37 and 40.

       SO ORDERED.

Dated: October 29, 2021
                                                       __________________________________
                                                               GREGORY H. WOODS
                                                              United States District Judge




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